                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 23-2139
                                                D.C. No.
             Plaintiff - Appellee,              4:21-cr-00166-DCN-1
 v.
                                                MEMORANDUM*
JOSEPH HORNOF, AKA Joseph D.
Hornof,

             Defendant - Appellant.

                   Appeal from the United States District Court
                             for the District of Idaho
                     David C. Nye, District Judge, Presiding

                           Submitted August 19, 2024**
                               Portland, Oregon

Before: CHRISTEN and NGUYEN, Circuit Judges, and EZRA, District Judge.***

      Defendant Joseph Hornof appeals the district court’s order denying his

motion to suppress his confession on the ground that he received an inadequate


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
      ***
             The Honorable David A. Ezra, United States District Judge for the
District of Hawaii, sitting by designation.
Miranda warning. Because the parties are familiar with the facts, we do not

recount them here. We review the adequacy of a Miranda warning de

novo. United States v. San Juan-Cruz, 314 F.3d 384, 387 (9th Cir. 2002). We

have jurisdiction pursuant to 28 U.S.C. § 1291, and we affirm.

      Miranda requires that a suspect be told, before questioning, that “he has the

right to remain silent, that anything he says can be used against him in a court of

law, that he has the right to the presence of an attorney, and that if he cannot afford

an attorney one will be appointed for him prior to any questioning if he so

desires.” Miranda v. Arizona, 384 U.S. 436, 479 (1966). The relevant inquiry is

“whether the warnings reasonably ‘convey to a suspect his rights.’” Duckworth v.

Eagan, 492 U.S. 195, 203 (1989) (alterations omitted) (quoting California v.

Prysock, 453 U.S. 355, 361 (1981) (per curiam)).

      Here, we conclude that the detective’s warning complied with Miranda. The

detective informed Hornof that he had “the right to an attorney,” the right to have

an attorney appointed, and the right to have “an attorney . . . present during any

and all questioning.” We have recognized that a defendant “need not have been

informed explicitly of his right to consult with counsel prior to questioning,” so

long as a warning “adequately convey[s] notice of the right.” United States v.

Loucious, 847 F.3d 1146, 1151 (9th Cir. 2017). A warning adequately conveys

such notice where it informs the defendant that he has the right to consult with an



                                         2                                    23-2139
attorney and to have an attorney present during questioning. Guam v. Snaer, 758

F.2d 1341, 1343 (9th Cir. 1985); see also Loucious, 847 F.3d at 1149. Because

Hornof was informed that he had the right to an attorney and to have an attorney

present during questioning, he was adequately informed of his rights under

Miranda.

      AFFIRMED.




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